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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                         §       CHAPTER 7
                                               §
BEAUTIFUL BROWS LLC,                           §       Case No. 18-66766-jwc
                                               §
       Debtor.                                 §

         NOTICE OF PLEADING, DEADLINE TO OBJECT AND FOR HEARING

        PLEASE TAKE NOTICE that S. Gregory Hays, Chapter 7 Trustee (the “Trustee”)
for the bankruptcy estate of Beautiful Brows LLC, Debtor in the above captioned case, filed an
Objection by Trustee to the Claim Asserted by the Internal Revenue Service (the “Objection”)
on October 23, 2019. 1

        Pursuant to General Order No. 24-2018, the Court may consider this matter without
further notice or a hearing if no party in interest files a response or objection within thirty (30)
days from the date of service of this notice. If you object to the relief requested in the
Objection, you must timely file your objection with the Bankruptcy Clerk at: Bankruptcy
Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive Street, SW, Atlanta, Georgia
30303, and serve a copy on the counsel for the Trustee at: Law Offices of Henry F. Sewel Jr.,
LLC, c/o Henry F. Sewell, Jr., Esq., Buckhead Centre, 2964 Peachtree Road NW, Suite 555,
Atlanta, Georgia, 30305 and any other appropriate persons by the objection deadline. The
response or objection must explain your position and be actually received by the Bankruptcy
Clerk within the required time.

        A hearing on the Objection has been scheduled for 11:00 a.m. on December 5, 2019, in
Courtroom 1203, Richard B. Russell Federal Building, 75 Ted Turner Drive, S.W. Atlanta,
Georgia 30303. If an objection or response is timely filed and served, the hearing will proceed
as scheduled. If you do not file a response or objection within the time permitted, the
Court may grant the relief requested without further notice or hearing provided that an
order approving the relief requested is entered at least one business day prior to the
scheduled hearing. If no objection is timely filed, but no order is entered granting the relief
requested at least one business day prior to the hearing, the hearing will be held at the time and
place as scheduled.




1
  The Objection is on file with the Clerk of the Court at the address set forth below and is
available for review between 8:00 a.m. and 4:00 p.m. or online anytime at
http://ecf.ganb.uscourts.gov (registered users) or at http://pacer.psc.uscourts.gov (unregistered
users) or a copy may be obtained from counsel for the Trustee identified below.
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       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one.

       Dated: October 23, 2019.

                                     Respectfully submitted,

                                     LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                     /s/ Henry F. Sewell, Jr.
                                     Henry F. Sewell, Jr.
                                     Georgia Bar No. 636265
                                     Buckhead Centre
                                     2964 Peachtree Road NW, Suite 555
                                     Atlanta, GA 30305
                                     (404) 926-0053
                                     hsewell@sewellfirm.com

                                     COUNSEL FOR THE CHAPTER 7 TRUSTEE




                                               2
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                      §       CHAPTER 7
                                            §
BEAUTIFUL BROWS LLC,                        §       Case No. 18-66766-jwc
                                            §
       Debtor.                              §

                 OBJECTION BY TRUSTEE TO THE CLAIM ASSERTED
                      BY THE INTERNAL REVENUE SERVICE

       COMES NOW, S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the bankruptcy

estate (the “Estate”) of Beautiful Brows LLC, Debtor (the “Debtor”) in the above captioned

case (the “Bankruptcy Case”), by and through counsel, and hereby files this Objection by

Trustee to the Claim Asserted by the Internal Revenue Service (the “Objection”) to object to the

Proof of Claim (Claim 3 dated October 22, 2018, as amended and modified, including, most

recently by Claim 3-5 filed on October 1, 2019, the “IRS Claim”) filed by the Department of the

Treasury - Internal Revenue Service (the “IRS”) in the Bankruptcy Case. 1 In support thereof, the

Trustee respectfully shows the Court as follows:

                               JURISDICTION AND VENUE

       1.     This Court has jurisdiction to consider this Objection pursuant to 28 U.S.C. §§

157 and 1334. This is a core proceeding pursuant to 28 U.S.C. §157. Venue of this proceeding is

proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.




1
   The Trustee recognizes that the IRS also filed a Request for Payment of a purported
administrative expense on May 22, 2019, as Claim 17-1 and that such claim was subsequently
amended to zero pursuant to Claim 17-2 filed on June 25, 2019. The Trustee agrees that the
amount of such claim is zero and, as such, this Objection does not consider such claim an
outstanding claim; however, the Trustee reserves the right to object to such claim should the IRS
attempt to modify and/or amend such claim.
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       2.      The predicates for the relief requested herein are Sections 105, 501, and 502 of

Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and Rule

3007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                               PROCEDURAL BACKGROUND

       3.      On October 3, 2018 (the “Petition Date”), the Debtor initiated the Case by filing

a voluntary petition for relief under chapter 11 of title 11 of the Bankruptcy Code with the

United States Bankruptcy Court for the Northern District of Georgia (the “Court”).

       4.      On November 21, 2018, the United States Trustee filed a Notice of Appointment

of Chapter 11 Trustee and Setting of Bond [Doc. No. 46] pursuant to which S. Gregory Hays was

appointed as the Chapter 11 Trustee for the bankruptcy estate of the Debtor. After the United

States Trustee filed an Application for Approval of Selection of Appointment of Chapter 11

Trustee [Doc. No. 47] on November 21, 2018, the Court entered an Order Approving

Appointment of Chapter 11 Trustee [Doc. No. 49] on November 26, 2018, to confirm the

appointment of S. Gregory Hays as the Chapter 11 trustee in the Case.

       5.      On September 3, 2019, the Court converted the Case to a proceeding under

Chapter 7 effective August 30, 2019 [Doc. No. 170] and directed the United States Trustee to

appoint a trustee in the Chapter 7 Case.

       6.      On September 4, 2019, the United States Trustee filed a Notice of Appointment of

Interim Trustee and Section 341(a) Meeting of Creditors [Doc. No. 171] in which S. Gregory

Hays was appointed as interim trustee in the Chapter 7 Case. The Trustee remains the duly acting

Chapter 7 Trustee for the bankruptcy estate of the Debtor.




                                                2
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                          IRS CLAIM SUBJECT TO OBJECTION

         7.    The Trustee is in the process of reviewing all claims that have been filed in the

Bankruptcy Case. As part of this review, the Trustee determined that no amount is due to the IRS

and, as such, the IRS Claim should be disallowed.

         8.    The IRS Claim was originally filed incident to a Proof of Claim dated October 22,

2018, and has been amended most recently by Claim 3-5 filed on October 1, 2019. Claim 3-5 in

the Bankruptcy Case asserts a purported claim in the amount of $21,500.51 for outstanding taxes

or penalties purportedly due to the IRS through the third quarter of 2018 with $19,305.32 of such

claim purportedly entitled to priority under 11 U.S.C. § 507(a) and the remaining amount of

$2,195.19 arising as a purported penalty on the purported unsecured priority claim.

         9.    Instead of confirming that any amount was due to the IRS, the investigation by

the Trustee of the IRS Claim discovered overpayments to the IRS in both the second and third

quarters of 2018. Attached as Exhibit A hereto and incorporated herein by reference are the 941-

X forms indicating overpayments by the Debtor of: a) $3,675.79 for the second quarter of 2018;

and b) $2,749.60 for the third quarter of 2018.

         10.   The Trustee contacted the party who completed the IRS Claim, Angela Denise

Anderson, to obtain the voluntary withdrawal of the IRS Claim. As of the date of this Objection,

the Trustee has not heard back from Ms. Anderson and the IRS has not withdrawn the IRS

Claim.

         11.   The Trustee objects to the IRS Claim because the documentation available to the

Trustee indicates that: a) no amount is due to the IRS; and b) the IRS Claim was filed in an

amount that is in excess of an allowable claim against the Debtor and, as such, the Trustee

maintains that the IRS Claim should be disallowed as a claim in the Bankruptcy Case.




                                                  3
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                                    RELIEF REQUESTED

       12.     Pursuant to this Objection, the Trustee respectfully requests that this Court: a)

disallow the IRS Claim; b) find that the IRS is not entitled to receive a distribution in the

Bankruptcy Case; and c) grant the Trustee such other and further relief as the Court may deem

just and proper.

                                      BASIS FOR RELIEF

       13.     The Trustee has determined that there is no basis for treating the IRS Claim as an

outstanding claim in the Bankruptcy Case. Indeed, documentation available to the Trustee

indicates that: a) the Debtor overpaid the IRS in both the second and third quarters of 2018; and

b) no amount is due to the IRS related to such periods.

       14.     Under the circumstances, the IRS Claim cannot be treated as a valid claim in the

Bankruptcy Case. Accordingly, the Trustee hereby objects to the allowance of the IRS Claim and

respectfully requests that the IRS Claim be disallowed.

       15.     The Trustee reserves the right to: a) object further to the IRS Claim on any and all

additional factual or legal grounds and object to any other claim asserted by the IRS; and b)

object to any other claims filed in the Bankruptcy Case. Without limiting the generality of the

foregoing, the Trustee specifically reserves the right to: a) supplement, modify, or amend this

Objection; b) file additional papers in support of this Objection as the Trustee deems appropriate;

c) object to the IRS Claim on other grounds not stated herein; and d) take appropriate action to: i)

respond to any allegation or defense that may be raised in a response filed by or on behalf of the

IRS or other interested parties; and/or ii) further object to the IRS Claim based on additional

information that may be produced to or discovered by the Trustee.

       WHEREFORE, the Trustee requests that the Court:




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          1.     sustain this Objection;

          2.     grant the relief requested in this Objection with regard to the IRS Claim and enter

an order, substantially in the form as the proposed order attached as Exhibit B hereto,

disallowing the IRS Claim; and

          3.     grant the Trustee such other and further relief as the Court may deem just and

proper.

          Respectfully submitted, this 23rd day of October, 2019.

                                           LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                                  /s/ Henry F. Sewell, Jr.
                                           Henry F. Sewell, Jr.
                                           Georgia Bar No. 636265
                                           Buckhead Centre
                                           2964 Peachtree Road NW, Suite 555
                                           Atlanta, GA 30305
                                           (404) 926-0053
                                           hsewell@sewellfirm.com

                                           COUNSEL FOR THE CHAPTER 7 TRUSTEE




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                                     Exhibit A
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                          Form Filing Instructions

                                      941-X

                          Period Ending 06/30/18



     Name:             BEAUTIFUL BROWS LLC GA

     Due Date:         03/31/19

     Remittance:       None is required. There is an overpayment of $ 3675.29.

     Mail To:          Department of the Treasury
                       Internal Revenue Service
                       Cincinnati, OH 45999-0005

     Signature:        Remember to sign and date the return before sending.
            Case 18-66766-jwc Doc 192 Filed 10/23/19 Entered 10/23/19 14:17:38 Desc Main
Form   941-X:      Adjusted Employer's QUARTERLY
                                       Document Federal
                                                  Page 10Tax  Return or Claim for Refund
                                                          of 20
(Rev. April 2017)                          Department of the Treasury — Internal Revenue Service                                                           OMB No. 1545-0029
   Employer identification number
   (EIN)                                                                                           XX-XXXXXXX                 Return
                                                                                                                             Return   You Correcting
                                                                                                                                    You're Are Correcting
                                                                                                                                                     ...  ...

                                           BEAUTIFUL BROWS LLC GA                                                          Check the type of return you're correcting:
   Name (not your trade name)

                                                                                                                            X     941
   Trade name (if any)
                                                                                                                                  941-SS
   Address          5002 N Royal Atlanta Dr Ste M
                Number                                 Street                                       Suite or room number   Check the ONE quarter you're correcting:

                    Tucker                                                           GA             30084                         1: January, February, March
                City                                                                 State                ZIP code
                                                                                                                            X     2: April, May, June

                Foreign country name                             Foreign province/county             Foreign postal code
                                                                                                                                  3: July, August, September
Read the separate instructions before completing this form. Use this form to correct
errors you made on Form 941 or 941-SS. Use a separate Form 941-X for each quarter                                                 4: October, November, December
that needs correction. Type or print within the boxes. You MUST complete all three
pages. Don't attach this form to Form 941 or 941-SS.                                                                       Enter the calendar year of the
                                                                                                                           quarter you're correcting:
      Part 1:        Select ONLY one process. See page 4 for additional guidance.
                                                                                                                              2018           (YYYY)
           1. Adjusted employment tax return. Check this box if you underreported amounts. Also
              check this box if you overreported amounts and you would like to use the adjustment
              process to correct the errors. You must check this box if you're correcting both
              underreported and overreported amounts on this form. The amount shown on line 21, if                          Enter the date you discovered errors:
              less than zero, may only be applied as a credit to your Form 941, Form 941-SS, or
              Form 944 for the tax period in which you're filing this form.
                                                                                                                                02/19/2019
      X    2. Claim. Check this box if you overreported amounts only and you would like to use the                           (MM / DD / YYYY)
              claim process to ask for a refund or abatement of the amount shown on line 21. Don't
              check this box if you're correcting ANY underreported amounts on this form.

      Part 2:        Complete the certifications.

      X    3. I certify that I've filed or will file Forms W-2, Wage and Tax Statement, or Forms W-2c, Corrected Wage and Tax Statement,
              as required.
           Note. If you're correcting underreported amounts only, go to Part 3 on page 2 and skip lines 4 and 5. If you're correcting overreported
           amounts, for purposes of the certifications on lines 4 and 5, Medicare tax doesn't include Additional Medicare Tax. Form 941-X can't be
           used to correct overreported amounts of Additional Medicare Tax unless the amounts weren't withheld from employee wages or an
           adjustment is being made for the current year.
           4. If you checked line 1 because you are adjusting overreported amounts, check all that apply.                You must check at least one box.
              I certify that:

                    a. I repaid or reimbursed each affected employee for the overcollected federal income tax or Additional Medicare Tax for the current
                       year and the overcollected social security tax and Medicare tax for current and prior years. For adjustments of employee social
                       security tax and Medicare tax overcollected in prior years, I have a written statement from each affected employee stating that he
                       or she hasn't claimed (or the claim was rejected) and won't claim a refund or credit for the overcollection.
                    b. The adjustments of social security tax and Medicare tax are for the employer's share only. I couldn't find the affected employees or
                       each affected employee didn't give me a written statement that he or she hasn't claimed (or the claim was rejected) and won't
                       claim a refund or credit for the overcollection.

                    c. The adjustment is for federal income tax, social security tax, Medicare tax, or Additional Medicare Tax that I didn't withhold from
                       employee wages.
           5. If you checked line 2 because you're claiming a refund or abatement of overreported employment taxes, check all that apply.
              You must check at least one box.
              I certify that:

            X       a. I repaid or reimbursed each affected employee for the overcollected social security tax and Medicare tax. For claims of employee
                       social security tax and Medicare tax overcollected in prior years, I have a written statement from each affected employee stating
                       that he or she hasn't claimed (or the claim was rejected) and won't claim a refund or credit for the overcollection.

                    b. I have a written consent from each affected employee stating that I may file this claim for the employee's share of social security
                       tax and Medicare tax. For refunds of employee social security tax and Medicare tax overcollected in prior years, I also have a
                       written statement from each affected employee stating that he or she hasn't claimed (or the claim was rejected) and won't claim a
                       refund or credit for the overcollection.

                    c. The claim for social security tax and Medicare tax is for the employer's share only. I couldn't find the affected employees; or each
                       affected employee didn't give me a written consent to file a claim for the employee's share of social security tax and Medicare tax;
                       or each affected employee didn't give me a written statement that he or she hasn't claimed (or the claim was rejected) and won't
                       claim a refund or credit for the overcollection.

            d. The claim is for federal income tax, social security tax, Medicare tax, or Additional Medicare Tax that I didn't withhold from
               employee wages.                                                                                                                        Next
For Paperwork Reduction Act Notice, see the instructions.                                   www.irs.gov/Form941X                          Form 941-X (Rev. 4-2017)
DAA
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Name (not your trade name)
                                                               Document     Page Employer
                                                                                 11 of identification
                                                                                          20          number (EIN) Correcting quarter 2                                         (1, 2, 3, 4)
                                                                                                                                                  Correcting calendar year     (YYYY)
   BEAUTIFUL BROWS LLC GA                                                                                   XX-XXXXXXX                                           2018
      Part 3:           Enter the corrections for this quarter. If any line doesn't apply, leave it blank.
                                               Column 1                       Column 2                            Column 3                                           Column 4
                                             Total corrected             Amount originally                  Difference
                                             amount (for ALL             reported or as                     (If this amount is a
                                                                                                                                                                   Tax correction
                                             employees)              –   previously corrected         =     negative number,
                                                                         (for ALL employees)                use a minus sign.)
 6.    Wages, tips and other                                                                                                              Use the amount in Column 1 when you
                                                      155877.32 –                  168814.47 =                      -12937.15             prepare your Forms W-2 or Forms W-2c.
       compensation (Form 941,
       line 2)
 7.    Federal income tax withheld                                                                                                        Copy Column
       from wages, tips, and other                      13140.65 –                   14836.55 =                       -1695.90            3 here                         -1695.90
       compensation (Form 941,
       line 3)
 8.    Taxable social security wages
       (Form 941 or 941-SS, line 5a,                  155877.32 –                  168814.47 =                      -12937.15 x 0.124* =                                 -1604.21
       Column 1)                                                                                               *If you're correcting your employer share only, use 0.062. See instructions.
 9.    Taxable social security tips
       (Form 941 or 941-SS, line 5b,                                 –                                =                                   x 0.124* =
       Column 1)                                                                                               *If you're correcting your employer share only, use 0.062. See instructions.
10.    Taxable Medicare wages and
       tips (Form 941 or 941-SS, line                 155877.32 –                  168814.47 =                      -12937.15 x 0.029* =                                   -375.18
       5c, Column 1)
                                                                                                              *If you're correcting your employer share only, use 0.0145. See instructions.
11.    Taxable wages & tips subject to
       Additional Medicare Tax withholding                           –                                =                                   x 0.009 =
       (Form 941 or 941-SS, line 5d)
                                                                                          *Certain wages and tips reported in Column 3 shouldn't be multiplied by 0.009. See instructions.
12.    Section 3121(q) Notice and
                                                                                                                                          Copy Column
       Demand - Tax due on unreported                                –                                =                                   3 here
       tips (Form 941 or 941-SS, line 5f)


13.    Tax adjustments (Form 941 or
                                                                                                                                          Copy Column
       941-SS, lines 7-9)                                            –                                =                                   3 here
14.    Qualified small business payroll                                                                                                   See
       tax credit for increasing                                     –                                =                                   instructions
       research activities (Form 941 or
       941-SS, line 11; you must attach
       Form 8974)
15.    Special addition to wages for                                                                                                      See
       federal income tax                                            –                                =                                   instructions
16.    Special addition to wages for                                                                                                      See
       social security taxes                                         –                                =                                   instructions

17.    Special addition to wages for                                                                                                      See
       Medicare taxes                                                –                                =                                   instructions
18.    Special addition to wages for                                                                                                      See
       Additional Medicare Tax                                       –                                =                                   instructions



19.    Combine the amounts on lines 7–18 of Column 4           ..........................................................                                                -3675.29
20a. COBRA premium assistance                                                                                                             See
     payments (see instructions)                                     –                                =                                   instructions

20b. Number of individuals provided
     COBRA premium assistance                                        –                                =
     (see instructions)

21.    Total. Combine the amounts on lines 19 and 20a of Column 4 ..................................................                                                     -3675.29
          If line 21 is less than zero:

          B     If you checked line 1, this is the amount you want applied as a credit to your Form 941 for the tax period in which you're filing this
                form. (If you're currently filing a Form 944, Employer's ANNUAL Federal Tax Return, see the instructions.)

          B     If you checked line 2, this is the amount you want refunded or abated.
           If line 21 is more than zero, this is the amount you owe.            Pay this amount by the time you file this return. For information on how to
           pay, see Amount you owe in the instructions.
                                                                                                                                                                             Next
 Page 2                                                                                                                                                     Form   941-X (Rev. 4-2017)
              Case 18-66766-jwc            Doc 192         Filed 10/23/19 Entered 10/23/19 14:17:38                                    Desc Main
                                                          Document     Page 12 of 20
Name (not your trade name)                                                               Employer identification number   (EIN)    Correcting quarter    2    (1, 2, 3, 4)
                                                                                                                                   Correcting calendar year (YYYY)

  BEAUTIFUL BROWS LLC GA                                                                          XX-XXXXXXX                                    2018
   Part 4:         Explain your corrections for this quarter.

 X      22.    Check here if any corrections you entered on a line include both underreported and overreported amounts.                      Explain both
               your underreported and overreported amounts on line 24.

        23.    Check here if any corrections involve reclassified workers.        Explain on line 24.

        24.    You must give us a detailed explanation of how you determined your corrections.             See the instructions.

         Checks was not issued to employees




   Part 5:        Sign here. You must complete all three pages of this form and sign it.
 Under penalties of perjury, I declare that I have filed an original Form 941 or Form 941-SS and that I have examined this adjusted return or claim, including
 accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than
 taxpayer) is based on all information of which preparer has any knowledge.




X
                                                                                            Print your
               Sign your                                                                    name here        KRISHNAN COMPANY
               name here                                                                    Print your
                                                                                            title here       CPA

                      Date      2/18/19                                                     Best daytime phone                               770-368-1030

 Paid Preparer Use Only                                                                                       Check if you're self-employed       ......

 Preparer's name                                                                                                 PTIN

 Preparer's signature                                                                                            Date                        2/18/19
 Firm's name (or yours
 if self-employed)            Krishnan Company, PC, CPA                                                          EIN                      XX-XXXXXXX
 Address                      746 Holcomb Bridge Rd                                                              Phone                    770-368-1030
 City                         Norcross                                          State       GA                   ZIP code                 30071-1325
Page 3                                                                                                                                       Form   941-X (Rev. 4-2017)
DAA
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                          Form Filing Instructions

                                       941-X

                          Period Ending 09/30/18



     Name:             BEAUTIFUL BROWS LLC GA

     Due Date:         03/31/19

     Remittance:       None is required. There is an overpayment of $ 2749.60.

     Mail To:          Department of the Treasury
                       Internal Revenue Service
                       Cincinnati, OH 45999-0005

     Signature:        Remember to sign and date the return before sending.
            Case 18-66766-jwc Doc 192 Filed 10/23/19 Entered 10/23/19 14:17:38 Desc Main
Form   941-X:      Adjusted Employer's QUARTERLY
                                       Document Federal
                                                  Page 14Tax  Return or Claim for Refund
                                                          of 20
(Rev. April 2017)                          Department of the Treasury — Internal Revenue Service                                                           OMB No. 1545-0029
   Employer identification number
   (EIN)                                                                                           XX-XXXXXXX                 Return
                                                                                                                             Return   You Correcting
                                                                                                                                    You're Are Correcting
                                                                                                                                                     ...  ...

                                           BEAUTIFUL BROWS LLC GA                                                          Check the type of return you're correcting:
   Name (not your trade name)

                                                                                                                            X     941
   Trade name (if any)
                                                                                                                                  941-SS
   Address          5002 N Royal Atlanta Dr Ste M
                Number                                 Street                                       Suite or room number   Check the ONE quarter you're correcting:

                    Tucker                                                           GA             30084                         1: January, February, March
                City                                                                 State                ZIP code
                                                                                                                                  2: April, May, June

                Foreign country name                             Foreign province/county             Foreign postal code    X     3: July, August, September
Read the separate instructions before completing this form. Use this form to correct
errors you made on Form 941 or 941-SS. Use a separate Form 941-X for each quarter                                                 4: October, November, December
that needs correction. Type or print within the boxes. You MUST complete all three
pages. Don't attach this form to Form 941 or 941-SS.                                                                       Enter the calendar year of the
                                                                                                                           quarter you're correcting:
      Part 1:        Select ONLY one process. See page 4 for additional guidance.
                                                                                                                              2018           (YYYY)
           1. Adjusted employment tax return. Check this box if you underreported amounts. Also
              check this box if you overreported amounts and you would like to use the adjustment
              process to correct the errors. You must check this box if you're correcting both
              underreported and overreported amounts on this form. The amount shown on line 21, if                          Enter the date you discovered errors:
              less than zero, may only be applied as a credit to your Form 941, Form 941-SS, or
              Form 944 for the tax period in which you're filing this form.
                                                                                                                                02/19/2019
      X    2. Claim. Check this box if you overreported amounts only and you would like to use the                           (MM / DD / YYYY)
              claim process to ask for a refund or abatement of the amount shown on line 21. Don't
              check this box if you're correcting ANY underreported amounts on this form.

      Part 2:        Complete the certifications.

      X    3. I certify that I've filed or will file Forms W-2, Wage and Tax Statement, or Forms W-2c, Corrected Wage and Tax Statement,
              as required.
           Note. If you're correcting underreported amounts only, go to Part 3 on page 2 and skip lines 4 and 5. If you're correcting overreported
           amounts, for purposes of the certifications on lines 4 and 5, Medicare tax doesn't include Additional Medicare Tax. Form 941-X can't be
           used to correct overreported amounts of Additional Medicare Tax unless the amounts weren't withheld from employee wages or an
           adjustment is being made for the current year.
           4. If you checked line 1 because you are adjusting overreported amounts, check all that apply.                You must check at least one box.
              I certify that:

                    a. I repaid or reimbursed each affected employee for the overcollected federal income tax or Additional Medicare Tax for the current
                       year and the overcollected social security tax and Medicare tax for current and prior years. For adjustments of employee social
                       security tax and Medicare tax overcollected in prior years, I have a written statement from each affected employee stating that he
                       or she hasn't claimed (or the claim was rejected) and won't claim a refund or credit for the overcollection.
                    b. The adjustments of social security tax and Medicare tax are for the employer's share only. I couldn't find the affected employees or
                       each affected employee didn't give me a written statement that he or she hasn't claimed (or the claim was rejected) and won't
                       claim a refund or credit for the overcollection.

                    c. The adjustment is for federal income tax, social security tax, Medicare tax, or Additional Medicare Tax that I didn't withhold from
                       employee wages.
           5. If you checked line 2 because you're claiming a refund or abatement of overreported employment taxes, check all that apply.
              You must check at least one box.
              I certify that:

            X       a. I repaid or reimbursed each affected employee for the overcollected social security tax and Medicare tax. For claims of employee
                       social security tax and Medicare tax overcollected in prior years, I have a written statement from each affected employee stating
                       that he or she hasn't claimed (or the claim was rejected) and won't claim a refund or credit for the overcollection.

                    b. I have a written consent from each affected employee stating that I may file this claim for the employee's share of social security
                       tax and Medicare tax. For refunds of employee social security tax and Medicare tax overcollected in prior years, I also have a
                       written statement from each affected employee stating that he or she hasn't claimed (or the claim was rejected) and won't claim a
                       refund or credit for the overcollection.

                    c. The claim for social security tax and Medicare tax is for the employer's share only. I couldn't find the affected employees; or each
                       affected employee didn't give me a written consent to file a claim for the employee's share of social security tax and Medicare tax;
                       or each affected employee didn't give me a written statement that he or she hasn't claimed (or the claim was rejected) and won't
                       claim a refund or credit for the overcollection.

            d. The claim is for federal income tax, social security tax, Medicare tax, or Additional Medicare Tax that I didn't withhold from
               employee wages.                                                                                                                        Next
For Paperwork Reduction Act Notice, see the instructions.                                   www.irs.gov/Form941X                          Form 941-X (Rev. 4-2017)
DAA
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Name (not your trade name)
                                                               Document     Page Employer
                                                                                 15 of identification
                                                                                          20          number (EIN) Correcting quarter 3                                         (1, 2, 3, 4)
                                                                                                                                                  Correcting calendar year     (YYYY)
   BEAUTIFUL BROWS LLC GA                                                                                   XX-XXXXXXX                                           2018
      Part 3:           Enter the corrections for this quarter. If any line doesn't apply, leave it blank.
                                               Column 1                       Column 2                            Column 3                                           Column 4
                                             Total corrected             Amount originally                  Difference
                                             amount (for ALL             reported or as                     (If this amount is a
                                                                                                                                                                   Tax correction
                                             employees)              –   previously corrected         =     negative number,
                                                                         (for ALL employees)                use a minus sign.)
 6.    Wages, tips and other                                                                                                              Use the amount in Column 1 when you
                                                      123841.64 –                  135946.37 =                      -12104.73             prepare your Forms W-2 or Forms W-2c.
       compensation (Form 941,
       line 2)
 7.    Federal income tax withheld                                                                                                        Copy Column
       from wages, tips, and other                      12295.32 –                   13192.89 =                         -897.57           3 here                           -897.57
       compensation (Form 941,
       line 3)
 8.    Taxable social security wages
       (Form 941 or 941-SS, line 5a,                  123841.64 –                  135946.37 =                      -12104.73 x 0.124* =                                 -1500.99
       Column 1)                                                                                               *If you're correcting your employer share only, use 0.062. See instructions.
 9.    Taxable social security tips
       (Form 941 or 941-SS, line 5b,                                 –                                =                                   x 0.124* =
       Column 1)                                                                                               *If you're correcting your employer share only, use 0.062. See instructions.
10.    Taxable Medicare wages and
       tips (Form 941 or 941-SS, line                 123841.64 –                  135946.37 =                      -12104.73 x 0.029* =                                   -351.04
       5c, Column 1)
                                                                                                              *If you're correcting your employer share only, use 0.0145. See instructions.
11.    Taxable wages & tips subject to
       Additional Medicare Tax withholding                           –                                =                                   x 0.009 =
       (Form 941 or 941-SS, line 5d)
                                                                                          *Certain wages and tips reported in Column 3 shouldn't be multiplied by 0.009. See instructions.
12.    Section 3121(q) Notice and
                                                                                                                                          Copy Column
       Demand - Tax due on unreported                                –                                =                                   3 here
       tips (Form 941 or 941-SS, line 5f)


13.    Tax adjustments (Form 941 or
                                                                                                                                          Copy Column
       941-SS, lines 7-9)                                            –                                =                                   3 here
14.    Qualified small business payroll                                                                                                   See
       tax credit for increasing                                     –                                =                                   instructions
       research activities (Form 941 or
       941-SS, line 11; you must attach
       Form 8974)
15.    Special addition to wages for                                                                                                      See
       federal income tax                                            –                                =                                   instructions
16.    Special addition to wages for                                                                                                      See
       social security taxes                                         –                                =                                   instructions

17.    Special addition to wages for                                                                                                      See
       Medicare taxes                                                –                                =                                   instructions
18.    Special addition to wages for                                                                                                      See
       Additional Medicare Tax                                       –                                =                                   instructions



19.    Combine the amounts on lines 7–18 of Column 4           ..........................................................                                                -2749.60
20a. COBRA premium assistance                                                                                                             See
     payments (see instructions)                                     –                                =                                   instructions

20b. Number of individuals provided
     COBRA premium assistance                                        –                                =
     (see instructions)

21.    Total. Combine the amounts on lines 19 and 20a of Column 4 ..................................................                                                     -2749.60
          If line 21 is less than zero:

          B     If you checked line 1, this is the amount you want applied as a credit to your Form 941 for the tax period in which you're filing this
                form. (If you're currently filing a Form 944, Employer's ANNUAL Federal Tax Return, see the instructions.)

          B     If you checked line 2, this is the amount you want refunded or abated.
           If line 21 is more than zero, this is the amount you owe.            Pay this amount by the time you file this return. For information on how to
           pay, see Amount you owe in the instructions.
                                                                                                                                                                             Next
 Page 2                                                                                                                                                     Form   941-X (Rev. 4-2017)
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Name (not your trade name)                                                               Employer identification number   (EIN)    Correcting quarter    3    (1, 2, 3, 4)
                                                                                                                                   Correcting calendar year (YYYY)

  BEAUTIFUL BROWS LLC GA                                                                          XX-XXXXXXX                                    2018
   Part 4:         Explain your corrections for this quarter.

 X      22.    Check here if any corrections you entered on a line include both underreported and overreported amounts.                      Explain both
               your underreported and overreported amounts on line 24.

        23.    Check here if any corrections involve reclassified workers.        Explain on line 24.

        24.    You must give us a detailed explanation of how you determined your corrections.             See the instructions.

         Checks was not issued to employees




   Part 5:        Sign here. You must complete all three pages of this form and sign it.
 Under penalties of perjury, I declare that I have filed an original Form 941 or Form 941-SS and that I have examined this adjusted return or claim, including
 accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than
 taxpayer) is based on all information of which preparer has any knowledge.




X
                                                                                            Print your
               Sign your                                                                    name here        KRISHNAN COMPANY
               name here                                                                    Print your
                                                                                            title here       CPA

                      Date      2/18/19                                                     Best daytime phone                               770-368-1030

 Paid Preparer Use Only                                                                                       Check if you're self-employed       ......

 Preparer's name                                                                                                 PTIN

 Preparer's signature                                                                                            Date                        2/18/19
 Firm's name (or yours
 if self-employed)            Krishnan Company, PC, CPA                                                          EIN                      XX-XXXXXXX
 Address                      746 Holcomb Bridge Rd                                                              Phone                    770-368-1030
 City                         Norcross                                          State       GA                   ZIP code                 30071-1325
Page 3                                                                                                                                       Form   941-X (Rev. 4-2017)
DAA
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                                          Exhibit B




                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:                                     §       CHAPTER 7
                                           §
BEAUTIFUL BROWS LLC,                       §       Case No. 18-66766-jwc
                                           §
       Debtor.                             §

  ORDER SUSTAINING OBJECTION BY TRUSTEE TO THE CLAIM ASSERTED BY
                  THE INTERNAL REVENUE SERVICE

       On October 23, 2019, S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the

bankruptcy estate (the “Estate”) of Beautiful Brows LLC, Debtor (the “Debtor”) in the above

captioned case (the “Bankruptcy Case”), filed an Objection by Trustee to the Claim Asserted by

the Internal Revenue Service (Doc. No. ____, the “Objection”). The Objection seeks the entry of

an Order disallowing the Proof of Claim (Claim 3 dated October 22, 2018, as amended and

modified, including, most recently by Claim 3-5 filed October 1, 2019, the “IRS Claim”) filed
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by the Department of the Treasury - Internal Revenue Service (the “IRS”) in the Bankruptcy

Case. 1

          Also on October 23, 2019, counsel for the Trustee filed a notice setting the Objection and

any responses thereto for hearing on December 5, 2019 (the “Hearing”). All requisite parties-in-

interest had an opportunity to file a response to the Objection and attend the Hearing to support

any asserted response to the Objection. No response to the Objection was filed and no creditor or

party in interest appeared to oppose the relief requested in the Objection.

          Having reviewed and considered the Objection and all other matters of record, including

the lack of objection thereto, after due deliberation thereon and finding that good cause exists for

the entry of this Order and that no further notice or opportunity for hearing is required, for good

cause shown, it is hereby ORDERED that:

          1.     The Objection is SUSTAINED and GRANTED;

          2.     The IRS Claim is disallowed;

          3.     The IRS is not entitled to receive a distribution in the Bankruptcy Case;

          4.     The Trustee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order; and

          5.     The Court shall retain jurisdiction over the interpretation or the implementation

of this Order.

                                      ***END OF ORDER***




1
  Capitalized, but undefined terms used herein shall have the meaning ascribed to such terms in
the Objection.
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Prepared and Presented by:

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COUNSEL FOR THE CHAPTER 7 TRUSTEE


Identification of parties to be served:

Lindsay P.S. Kolba, Esq.
Office of the U.S. Trustee
362 Richard Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303
Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346
Ms. Angela Denise Anderson
Bankruptcy Specialist
Internal Revenue Service
401 W. Peachtree St.
M/S 334-D
Atlanta, GA 30308-3539
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                       §       CHAPTER 7
                                             §
BEAUTIFUL BROWS LLC,                         §       Case No. 18-66766-jwc
                                             §
       Debtor.                               §

                                CERTIFICATE OF SERVICE

        This is to certify that service of the foregoing Objection by Trustee to the Claim Asserted
by the Internal Revenue Service was served via the United States Bankruptcy Court for the
Northern District of Georgia's Electronic Case Filing System to all registered parties who have
filed appearances and requested notices in this case and by first class United States mail with
adequate postage thereon or electronic mail, as indicated, to the following at the addresses stated
below:
Lindsay P.S. Kolba, Esq.                             Internal Revenue Service
Office of the U.S. Trustee                           P.O. Box 7346
362 Richard Russell Federal Building                 Philadelphia, PA 19101-7346
75 Ted Turner Drive, SW
Atlanta, GA 30303                                    Ms. Angela Denise Anderson
                                                     Bankruptcy Specialist
                                                     Internal Revenue Service
                                                     401 W. Peachtree St.
                                                     M/S 334-D
                                                     Atlanta, GA 30308-3539
Dated: October 23, 2019.

                                  Respectfully submitted,

                                  LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                      /s/ Henry F. Sewell, Jr.
                                  Henry F. Sewell, Jr.
                                  Georgia Bar No. 636265
                                  Buckhead Centre
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                                  COUNSEL FOR THE CHAPTER 7 TRUSTEE
